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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 MARYJUDE ZIMMERMAN,

         Plaintiff,

 vs.                                                    CASE NO.
 PODS ENTERPRISES, LLC,

         Defendant.
                                                   /

                             NOTICE OF REMOVAL OF ACTION

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446(b), Defendant PODS Enterprises, LLC

(“Defendant”) files this Notice to remove the above-styled action from the Circuit Court of the

Sixth Judicial Circuit, in and for Pinellas County, Florida, to the United States District Court for

the Middle District of Florida, Tampa Division. The grounds for removal are as follows:

        1.      On or about December 12, 2018, Plaintiff Maryjude Zimmerman (“Plaintiff”)

instituted this action by filing her Complaint against Defendant in the Circuit Court of the Sixth

Judicial Circuit, in and for Pinellas County, Florida, styled Maryjude Zimmerman v. PODS

Enterprises, LLC, Case No. 18-008108-CI. (A copy of the Complaint is included among the copies

of all papers now on file with the Circuit Court, attached hereto as Composite Exhibit A.)

        2.      This Court has original jurisdiction over this action because Plaintiff asserts claims

arising under federal statutes. See 28 U.S.C. §§ 1331, 1441. Specifically, this is a civil action

alleging claims arising under the Americans with Disabilities Act, 42 U.S.C. § 1201 et seq.

(“ADA”). Thus, the Court has original jurisdiction over the action under 28 U.S.C § 1331, and

the action is removable pursuant to 28 U.S.C. §§ 1441 and 1446.

        3.      As described in the Complaint, the alleged events giving rise to the claims occurred

in Pinellas County, Florida. (Complaint, ¶ 2.) Therefore, pursuant to 28 U.S.C. § 1391 and L.R.

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1.02(c), venue is proper in the Tampa Division of the United States District Court for the Middle

District of Florida.

        4.      The Complaint and Summons were served on Defendant on December 14, 2018.

This Notice of Removal is being filed on January 3, 2018, within 30 days of the date the Complaint

was served on Defendant. Therefore, this Notice of Removal is timely and proper. See 28 U.S.C.

§ 1446(b).

        5.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and other papers

served on Defendant and on file with the Circuit Court of the Sixth Judicial Circuit, in and for

Pinellas County, Florida, Case No. 18-008108-CI, are attached hereto as Composite Exhibit “A.”

        6.      A copy of the Notice of Removal is being served upon Plaintiff by service upon her

counsel of record. A copy of this Notice of Removal also is being filed with the Clerk of the

Circuit Court of the Sixth Judicial Circuit, in and for Pinellas County, Florida.

                                         CONCLUSION

        This Court has removal jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1441. Defendant now exercises its right under the provisions of 28 U.S.C. §§ 1331, 1441, and

1446 to remove this action from the Circuit Court for the Sixth Judicial Circuit, in and for Pinellas

County, Florida, to the United States District Court for the Middle District of Florida, Tampa

Division.




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Date: January 3, 2019

                                            Respectfully submitted,



                                            s/ John E. Phillips
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                                            ATTORNEYS FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 3, 2019, a true and correct copy of the foregoing

was served by regular U.S. Mail to the following:

        Wolfgang M. Florin, Esq.
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                                            s/John E. Phillips
                                            Attorney for Defendant




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